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         1 5
           WANGER JONES HELSLEY
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         3 Fresno, California 93720

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           E-Mail: rwalter@wjhattorneys.com
         5

         6 Attorneys for Debtor and Debtor in Possession, Madera Community Hospital

         7

         8                              UNITED STATES BANKRUPTCY COURT

         9                                EASTERN DISTRICT OF CALIFORNIA

       10                                              FRESNO DIVISION
       11
               In re:                                                Case No. 23-10457
       12
               MADERA COMMUNITY HOSPITAL,
                                                                     Chapter 11
       13               Debtor in Possession.
                                                                     DCN: WJH-81
       14          Tax ID#:       XX-XXXXXXX
       15          Address:       1250 E. Almond Avenue               Date:         April 11, 2024
                                  Madera, CA 93637                    Time:         9:30 a.m.
       16                                                             Place:        2500 Tulare Street
                                                                                    Courtroom 13
       17                                                                           Fresno, CA 93721
                                                                      Judge:        Honorable René Lastreto II
       18

       19
                      APPLICATION FOR PAYMENT OF INTERIM FEES AND/OR EXPENSES
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             Application for Payment of Interim Fees and/or      1             R:\Client\10538-002\PLEADINGS\WJH-81
             Expenses                                                                 Interim Fee Application for WJH\Fee
                                                                                                  Application.031324.docx
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         1                                              SUMMARY TABLE

         2    Name of Applicant:                                     Wanger Jones Helsley PC
         3    Nature of Services for which Compensation              Counsel for Debtor in Possession
              is Requested:
         4    Date of Filing of Petition under Chapter 11            March 10, 2023
              of the Bankruptcy Code:
         5    Date Application for Employment Filed:                 March 15, 2023
              Date of Entry of Order Approving                       April 18, 2023
         6
              Applicant's Employment:
         7    Period for which Compensation and                      October 16, 2023 through February 29, 2024
              Reimbursement of Expenses is Requested
         8    (“Application Period”):
              Are Monthly Operating Reports Current?                 Yes
         9
              Are United States Trustee Fees Current?                Yes
       10     Amount of Compensation Requested as                    $263,744.00
              Actual, Reasonable, and Necessary During
       11     Application Period:
              Amount of Expenses Requested as Actual,                $5,325.86
       12     Reasonable, and Necessary During
              Application Period:
       13
              Total Amount of Compensation and                       $269,069.86
       14     Expenses Requested to be Allowed in This
              Application:
       15     Retainer Amount on Date of this                        $-0-
              Application:
       16
             1.       Chapter 11 Plan:
       17
                       X A. The Chapter 11 Plan has been filed and the hearing on confirmation is set for April
       18
             16, 2024.
       19
             2.       Terms and Conditions of Employment:
       20
                      Services will be billed at the hourly rates then in existence for the billing professional.
       21
             3.       Source of Compensation:
       22

       23              X Debtor in Possession
                      ____Third Party: _________________________
       24
             4.       Summary of Fees Previously Allowed and Paid or Scheduled for Hearing:
       25

       26         DATE              FEES ALLOWED                COSTS ALLOWED             PAYMENT DATE
                  6/1/23            $166,909.50                $5,048.45                  6/7/23
       27         7/11/23           $138,517.00                $9,586.85                  7/19/23
                  12/19/23          $311,917.50                $5,778.19                  12/22/23
       28
             Application for Payment of Interim Fees and/or      2               R:\Client\10538-002\PLEADINGS\WJH-81
             Expenses                                                                   Interim Fee Application for WJH\Fee
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         1 5.        This application is not within 120 days of the date of the entry of the order of relief or filing

         2 date of last fee Application unless permitted by Order of Court. This Application is filed pursuant

         3 to the Compensation Procedures Order, (ECF #759).

         4           In accordance with the Court’s Compensation Procedures Order, WJH submitted three (3)

         5 monthly fee statements (“Monthly Fee Statements”) seeking interim compensation and

         6 reimbursement of expenses during the Application Period. ECF Numbers 1169, 1332, and 1527.

         7 Copies of the time entries, as well as expenses were filed with the Court as exhibits to the Monthly

         8 Fee Statements and are also attached hereto as Exhibit B. Per the Compensation Procedures Order,

         9 and absent objection, WJH received 80% of fees and 100% of expenses for the Application Period

       10 covered by the Monthly Fee Statements as of the date of this hearing. By this Application, Counsel

       11 now seeks allowance of $263,744.00 of fees and $5,325.86 of expenses incurred during the

       12 Application Period, and approval for payment of $52,748.80 in fees, which was incurred, but has

       13 not been paid due to the 20% holdback from amounts sought in its Monthly Fee Statements. A

       14 Summary of all fees and expenses included in the Application Period is as follows.

       15 PROJECT FEE SUMMARY:

       16                                                                                      Total Fees
             Project                                                                           Charged
       17
          Assumption/Rejection of Leases/Contracts                                             $9,474.50
       18 Case Administration                                                                  $14,876.50
          Claims Administrations and Objections                                                $27,003.50
       19 Estate/Business Operations                                                           $20,911.50
       20 Fees and Employment                                                                  $8,586.00
          Financing                                                                            $17,124.50
       21 Litigation/Other Contested Matters                                                   $27,928.00
          Plan and Disclosure Statement                                                        $20,122.00
       22 Relief from Stay Adequate Protection                                                 $5,380.50
          Sales/Transfers                                                                      $112,337.00
       23

       24            Total Fees Requested this Application:                                    $263,744.00

       25 ///

       26 ///
       27

       28 EXPENSE SUMMARY:
             Application for Payment of Interim Fees and/or      3            R:\Client\10538-002\PLEADINGS\WJH-81
             Expenses                                                                Interim Fee Application for WJH\Fee
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         1 Type of Expense                                                                          Amount
         2
           Postage                                                                                  $1,755.84
         3 Reproduction                                                                             $2,595.75
           Electronic Research                                                                      $283.80
         4 Telephone Charges                                                                        $22.50
           Mileage/Transportation                                                                   $142.47
         5 Filing/Service Fees                                                                      $525.50
         6
                    Total Expenses Requested this Application:                                      $5,325.86
         7
             FEE SUMMARY1
         8
              Professional                          Bar Admission        Hourly Rate       Hours        Total Fees
         9                                          Date                 Billed
       10     Riley C. Walter, Attorney             1980                 $550.00           208.90       $114,895.00
       11                                                                $595.00           154.60       $91,987.00
       12
              Kurt F. Vote, Attorney                1992                 $450.00           1.40         $630.00
       13
                                                                         $495.00           0.70         346.50
       14
              Michael Helsley, Attorney             1998                 $435.00           0.50         $217.50
       15
                                                                         $495.00           0.50         $247.50
       16
              Giulio A. Sanchez, Attorney           2017                 $325.00           11.40        $3,705.00
       17
                                                                         $360.00           29.20        $10,512.00
       18

       19     Ian J. Quinn, Attorney                2022                 $325.00           78.80        $25,350.00

       20     Benjamin C. West, Attorney            2018                 $305.00           2.90         $884.50

       21     Hannah L. Ravizza, Law Clerk                               $220.00           22.70        $4,994.00

       22     Nicole Medina, Paralegal                                   $190.00           52.50        $9,975.00

       23     Blended Attorney Hourly Rate          $433.5
       24

       25 ///

       26
       27 1        Applicant’s attorney hourly rates for similar non-bankruptcy business transaction clients and the
                   business litigation clients depend on the complexity of the case and the expertise of the attorney:
       28                   Business Transactions:               $180.00 to $595.00
                            Business Litigation:                 $180.00 to $595.00
          Application for Payment of Interim Fees and/or        4                 R:\Client\10538-002\PLEADINGS\WJH-81
          Expenses                                                                       Interim Fee Application for WJH\Fee
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           TOTAL FEES AND EXPENSES
         1 REQUESTED THIS APPLICATION                                                            $269,069.86
         2
           TOTAL PAYMENT REQUESTED
         3 THIS APPLICATION                                                                      $52,748.80

         4
                                                    SUMMARY OF EXHIBITS
         5
           Exhibit A:         Narrative Summary
         6 Exhibit B:         Itemized Billing Entries by Task Code and Expenses
         7           Applicant hereby certifies that the foregoing Application and all attached supporting
         8 documentation is true and correct and accurately reflects services rendered and expenses incurred.

         9           This is an interim fee application for counsel in this case.

       10

       11 Dated: March 19, 2024                                  WANGER JONES HELSLEY

       12
                                                                 By:
       13                                                              Riley C. Walter
                                                                       Attorneys for Debtor and Debtor in Possession,
       14                                                              Madera Community Hospital
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             Application for Payment of Interim Fees and/or      5              R:\Client\10538-002\PLEADINGS\WJH-81
             Expenses                                                                  Interim Fee Application for WJH\Fee
                                                                                                   Application.031324.docx
